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May 10, 2021
BY ELECTRONIC MAIL AND ECF

The Honorable Christopher S. Sontchi
Chief United States Bankruptcy Judge
District of Delaware
824 North Market Street, 5th Floor
Wilmington, Delaware 19801

Re:       In re: ASHINC Corporation, et al., Case No. 12-11564 (CSS)
          ASHINC Corporation v. AMMC VIII, Limited, et al., Adv. Proc. No. 12-50947 (CSS),
          Official Committee of Unsecured Creditors of Allied Systems Holdings, Inc. v. Yucaipa
          American Alliance Fund I, L.P., et al., Adv. Proc. No. 13-50530 (CSS) and BDCM
          Opportunity Fund II, LP, et al. v. Yucaipa American Alliance Fund I, L.P., et al.,
          Adv. Proc. No. 14-50971 (CSS)

Dear Judge Sontchi:
        Together with Joseph Hage Aaronson LLC and Zaiger LLC, this firm represents
Catherine E. Youngman, as the Litigation Trustee for ASHINC Corporation and related debtors
(the “Trustee”), in connection with the above-referenced Adversary Proceedings. Pursuant to the
Order dated June 25, 2020, we respectfully submit this status report on behalf of the Trustee.
This status report supplements the earlier reports submitted to the Court by both the Trustee and
the Unsecured Creditors’ Committee, which are incorporated by reference herein.1
        Fact discovery closed on July 26, 2019, and expert discovery closed on January 10, 2020.
The parties each filed summary judgment motions on May 1, 2020, which were fully briefed on
December 18, 2020. Oral argument took place on February 4, 2021. Following argument, the
parties submitted supplemental letter briefing addressing the impact on the parties’ cross-
motions, if any, of Your Honor’s decision in In re Maxus Energy Corp., 2019 WL 647027

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        Unless otherwise defined, all capitalized terms herein shall have the same meaning as in
the prior status reports.


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(Bankr. D. Del. Feb. 15, 2019) on February 19 and 23, 2021. On May 4, 2021, Your Honor
issued an Opinion and Order granting in part and denying in part each party’s motion for
summary judgment. As directed in the Order, the parties are preparing a proposed form of
judgment consistent with the Opinion and Order to be submitted within 14 days.
        We are available at the Court’s convenience should Your Honor have any questions.
                                                          Respectfully,
                                                          /s/ Seth A. Niederman
                                                          Seth A. Niederman
                                                          DE Bar No. 4588

cc (via email):
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